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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig            *                MDL No. 2179
“Deepwater Horizon” in the Gulf            *
of Mexico, on April 20, 2010               *                SECTION “J”
                                           *                JUDGE BARBIER
This Document Relates to:                  *
All cases in Pleading Bundles B1 and B3;   *
10-2771; 10-3815; 10-1540; 10-1502         *                MAGISTRATE NO. 1
                                           *                MAGISTRATE SHUSHAN
* * * * * * * * * *                      * *


                                            ORDER

       Considering the Joint Motion of Defendants Anadarko Petroleum Corporation, Anadarko

E&P Company LP, and MOEX Offshore 2007 LLC to Compel Response to Production Requests

Served Upon BP Exploration & Production, Inc., BP America Production Company, and BP

p.l.c. (together “BP”):


       IT IS HEREBY ORDERED that BP shall produce documents responsive to Anadarko’s

and MOEX Offshore’s Requests for Admission and Production and respond to Anadarko’s and

MOEX Offshore’s Interrogatories served in connection with this multi-district litigation.


       New Orleans, Louisiana, this _____ day of _____, 2011.




                                             __________________________________
                                             UNITED STATES DISTRICT JUDGE
